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AO 245B       (Rev, 09/11) Judgment in a Criminal Case
vi            Sheet 1



                                           UNITED STATES DISTRICT COURT
                                                         MIDDLE DISTRICT OF ALABAMA

              UNITED STATES OF AMERICA                                               JUDGMENT IN A CR1 '4INAL CASE
                                   V.

                        JOE GASTON, JR.                                              Case Number: 2:1 3crl 35-0 -WKW

                                                                                     USM Nttniber: 14802-002

                                                                                      Richard Kelly Keith
                                                                                     1]citiiidaiu's kIIorny
THE DEFENDANT:
  'plcaded guiTty to count(s)           isand 3s of the Superseding Indictment on 02/0312014
L pleaded nolo coniendere to count(s)
   which was accepted by the court.
   was found u ndty on count(s)
   tdtcr a plea 011)01 owlty.

The defendant is adjudicated guilty ni rhcsc offenses:

Tide & Section                    Nature o1011eutse                                                                  Offense Ended             Count

 21:841(a)(1); 18:2                 Possess with Intent to Distribute Cocaine Base and                                10/2C12012                is

                                        Cocaine Hydrochloride; Aiding and Abetting

 1 8:924(c)(1 )(A)                  Possession of a Firearm During a Drug Trafficking Crime                           10/2012012               3s




E See additional count(s) on page 2

      The deiciidani Is SL'Illcilccd as pri)s]dcd in popes 2 thrutiph 6           ofthisjucl g incilL. The sentence is iiiipnsed pursuaili to the
Sentenc at Ret orni Act of 1984
LI The defendant has been found not guilty on count(s)

   Count(s) 2s and 4s                   isE                          'are dismissed on the motion of the United ttates.

         It is ordered that the defendant mist notify the United States attorney for this district within 30 days f any change ofnanrc, residence,
or mailing address until all fines, restitution, costs, and special assessmentsiiposed by tins judgriicnt. are fuIli paid. if ordered to pay restitution,
the defendant must notify the court and United States attorney of material chan g es in economic ciicuinstances.

                                                                          07/09/2014
                                                                           DaLe lit Inipusi ilOil (I l • Judgnicnl




                                                                          'Iv
                                                                          Sigirsiure of Judge


                                                                          W. KEITH WATKINS, CHIEF U.S. DISTRICT JUDGE
                                                                           t,anie liJLldSe                                    Fills otJridge




                                                                           F)ai
                      Case 2:13-cr-00135-WKW-TFM Document 132 Filed 07/14/14 Page 2 of 6

AO 245E3          (Rev. 09/I I) Judgmenl in a Criminal Cmie
V1                Sheet 2— Imprisonment

                                                                                                                        Judgrnent Page: 2of6
     DEFENDANT: JOE GASTON, JR.
     CASE NUMBER: 2:13cr135-01-WKW


                                                                    IMPRISONMENT

              The defendant is hereby committed to the custod y of the United States Bureau of Prisons to he imi risoned for a
     Iola] term 01:
         130 Months. This sentence consists of 70 months as to Count is and 60 months as to Count 3i to be served
                     consecutively.



               The court makes the following recommendations to the Bureau of Prisons:

     The Court recommends that defendant be designated to a facility where intensive residential drug treatment and vocational
     training are available.



               The defendant is remanded to the custody of the United States Marshal.


               The defendant shall surrender to the United Slates Marshal for this district:

               E at         --          - -_________          am.      E p.m.          on

                    as notified by the United States Marshal,


           E The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               E before                    on

               El as notified by the United States Marshal.

               El as notified by the Probation or Pretrial Services Office.


                                                                          RETURN
     I have executed this judgment as follows:




               Defendant delivered on                                                            to

     a                                                        with a certified copy of this judgment.




                                                                                                           UNITED STA FS MARSHAL



                                                                                  By
                                                                                                        DEPUTY UNITED TAIES MARSHAL
                       Case 2:13-cr-00135-WKW-TFM Document 132 Filed 07/14/14 Page 3 of 6

A0 245B            (Rev. 09/I I) Judgment in a Criminal Case
V1                 Sheet 3—Supervised Release

 DEFENDANT: JOE GASTON, JR.                                                                                              Judgment Page: 3 of

 CASE NUMBER: 2:13cr135-01-WKW
                                                               SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall he on supervised release for a term of
 8 Years. This term consists of 8 years as to Count is and 5 years as to Count 3s to run concurrtntIy.


          The defendant must report to he probation office in the district to which the defendant is released vithin 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfull y possess a controlled suhstanee. The defendant shall refrain from an y unlawful use of controlled
 substance. The defendant shall stibmitto one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
            The ahove drug testing condition is suspended, based on the court's determination that the defendant Uses a low risk of
            future substance ahuse, (Clwck, if apphcable.)

            The defendant shall not possess a firearm. ammunition, destructive device, or any other dangerous weapon. (Check. tfapplicahle.)

            The defendant shall cooperate in the collection of DNA as directed by the probation officer. Check, ifamiplicah/e)

            The defendant shall compl y with the requirements of the Sex Offender Registration and Notification Jet (42 U.S.C. § [6901. ci seq.)
            as directed by the prohation officer, the Llrcau of Prisons, or any state sex offender registration agem. in which he or she resides,
            works, is a student, or was convicted of' a qualifying olfense. (('heck, if applicable

     E The defendant shall participate in an approved program for domestic violence. (Cheek, ijapplicahie.)

         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defend-tit pay in accordance with the
 Schedule of Pa'ments sheet of this judgment.
           The defendant must comply with the standard conditions that hive been adopted by this court as well as with any additional conditions
 on the attached page.

                                               STANDARD CONDITIONS OF SUPERVISION
       I) the defendant shall not leave the judicial district without the permission of the court or probation off er;
      2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
      3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
      4)     the defendant shall support his or her dependents and meet other family responsibilities;
       5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons;
      6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or cinployment;
      7)     the defendant shall refrain front         use ol'alcohol and shall not purchase, possess, use, distrib.ile, or administer any
             controlled substance or any paraphernalia related to any controlled substances, except as prescribed l'y a physician;
      8)     the defendant shall not frequent places where controlled substances are illegally sold, used. dis(ributt'l, or administered;
      9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted ofa
             felony, unless granted permission to do so by the proatcon officer;
      10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and .hall permit confiscation of any
             contraband observed in plain view of the probation officer;
     11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law cnforcerrent officer;
      12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enfi:rcemnt agency without the
             permission of the court; and

     13)     as directed by the probation officer, the defendant shall notiFy third parties of risks that ma y he occasined by The defendant's criminal
             record or eional histor y or characteristics and shall permit the probation officer to make such notiF oations and to confirm the
             defendant s compliance vith such notification requirement.
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AO 24513       (Rev. 09/I1) Judgment in a Criminal Case
vi             Sheet 3C - SupervLsed RIease


 DEFENDANT: JOE GASTON, JR.                                                                                 Judgment Page: 4 of 6
 CASE NUMBER: 2:13cr135-01-WKW

                                             SPECIAL CONDITIONS OF SUPERVISION

     Defendant shall participate in a program approved by the United States Probation Office for substance abuse, which will
     include testing to determine whether he has reverted to the use of drugs. Defendant shall coni ilbute to the cost of any
     treatment based on ability to pay and the availability of third-party payments.

     Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this court.
                   Case 2:13-cr-00135-WKW-TFM Document 132 Filed 07/14/14 Page 5 of 6

AU 245fl       (Rev. 09fl I) Judgment in a Criminal Case
V1              Sheer S - Crminai Monetary Penalties

                                                                                                                         Judgment Page: 5 of 6
     DEFENDANT: JOE GASTON, JR.
     CASE NUMBER: 2:13cr135-01-WKW
                                                  CRIMINAL MONETARY PENALTIES
        The defendant must pay the total criminal monetary penalties under the schedule of payments on She( .6.


                        Assessment                                         Fine                             Restitution
 TOTALS              $ 200.00                                          $                                  $ $0.C)


 E The determination of restitution is deferred until                       . An .4 mended Judgment in a Criminal Case (40245(4 will he entered
   after such determination.

 El The defendant must make restitution (includin g communit y restitution) to the following payees in the amount listed helow.

       tithe defendant makes a partial payment, each pa y ee shall receive an approximately proportioned payr ent, unless specified otherwise in
       the priorityder
                    or or percen1ae paymen
                                         t column below. Ilowever. pursuant to 18 IJ'.S.C. § 3664(1), all nonfederal victims must be paid
       heforc the United States is paid.

 Name of Payee                                                     Total Loss*                 Restitution Ordered Priority or Percentage




TOTALS                                                                                 $0.00                   $0.,.to


El      Restitution amount ordered pursuant 10 plea agreement

        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or line is paid in full hclbre the
        fifteenth day after the date oithe judgment, pursuant to 18 U.S.C. § 3612(1). All of the payment option on Sheet may he subject
        to penalties for delinquency and defuult, pursuant to 18 U.S.C. 4 3612(g).

        The court determined that the defendant does not have the ability In pay interest and it is ordered that:

        E the interest requirement is Nvaived for the         E fine       El restitution,
        Fi the interest requirement for the          0 fine    0 restitution is modified as follows:


* Findings for the total annunt of losses are required under Chaers 109A, 110, 1 bA, and 113A of Title 18 fr offenses committed on or after
September 13, 1994, but before April 23, 1996.
                 Case 2:13-cr-00135-WKW-TFM Document 132 Filed 07/14/14 Page 6 of 6

AO 245tt      (Rev. 09L I) Judgment in a Criminal Case
VI            Sheet 6— SchJu1e of Payments

                                                                                                                      Judgment Page: 6 of 6
 DEFENDANT: JOE GASTON, JR.
 CASE NUMBER: 2:13cr135-01-WKW


                                                         SCHEDULE OF PAYMENTS

 lla'ving assessed the defendant's ability to pay. payment of the total criminal monetary penalties is due as l:illows:

 A     F   ' Lump sum payment of S 200.00                      due immediately, balance due

                  not later than                                  , or
            E in accordanceEl C.                          ft        E, or E F below; or

 II   n Payment to begin immediately (may he combined with                El C.          I), or       F below); or

 C          Payment in equal                   (e.g., weekly, monthly, quarier1v) installments of S                           over a period of
             ______ - (eg., months or years). to commence                   -- (e.g., 30 or 60 days) after the dat: of this judgment; or

 0    n Pay ment in equal-                      (e g.. weekI. month/s, quarerIv installments of S          --    -          over a period of
       -              (e.g., months or Sew's), to commence                  - (e g.. 30 or 60 dat's) after release from imprisonment to a
         term of supervision or

 E          Payment during the term oh' supervised release will commence within-________ - (e.g., 30 or 0 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F          Special instructions regarding the payment of criminal monetary penalties:

             All criminal monetary payments are to be made to the Clerk, United States District Court, Midd: District of Alabama, Post
             Office Box 711, Montgomery, Alabama 36101.




 Unless the court has expressl y ordered otherwise, if this judgment imposes imprisonment, pa yment of erininal monetary penalties is due during
 imprisonment. All crimnal nonetary penalties. except those payments made through the Federal Bureau o(Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 U Joint and Several

      Defendant and Co-Defendant Names and Case Numhers (inciudmngdefendant nu.rnber, Total Amount, ic nt and Several Amount,
      and corresponding payee, it' appi'opri ate.




 El    l'hc defendant shall pay the cost of prosecution.

 E The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (I) assessment. (2) restitution principal, (3) restitution inteest. (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and eos rt costs.
